                   Case 17-80835                 Doc 51              Filed 08/29/18 Entered 08/29/18 10:48:05                   Desc Main
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 Fill in this information to identify your case:

 Debtor 1                  David Paul Armstrong
                           First Name                       Middle Name              Last Name

 Debtor 2                  Lori Anne Armstrong
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF ILLINOIS

 Case number            17-80835
 (if known)                                                                                                                       Check if this is an
                                                                                                                                  amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                     12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Select Portfolio Servicing, Inc.                     Surrender the property.                              No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                 Yes
    Description of        106 S. Myers Street Eureka, IL                    Reaffirmation Agreement.
    property              61530 Woodford County                             Retain the property and [explain]:
    securing debt:        One and a half story,
                          vinyl-sided home with three
                          bedrooms, one bathroom, and a
                          two-stall, detached garage.

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                       Will the lease be assumed?

 Lessor's name:                                                                                                            No
 Description of leased
 Property:                                                                                                                 Yes

 Lessor's name:                                                                                                            No



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                   page 1

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 Debtor 1      David Paul Armstrong
 Debtor 2      Lori Anne Armstrong                                                                   Case number (if known)   17-80835

 Description of leased                                                                                                         Yes
 Property:

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ David Paul Armstrong                                                     X /s/ Lori Anne Armstrong
       David Paul Armstrong                                                            Lori Anne Armstrong
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        August 29, 2018                                                  Date    August 29, 2018




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                page 2

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                                    PROOF OF SERVICE


       The undersigned hereby certifies that a copy of the above document was sent via
Electronic Mail to the following on the 29th day of August, 2018:

       United States Trustee, 401 Main Street, Suite 1100, Peoria, Illinois 61602

       Michael Clark, Trustee, 401 Main Street, Suite 940, Peoria, Illinois 61602

       The undersigned hereby certifies that a copy of the above document was sent via First
Class Mail, postage prepaid, to the following on the 29th day of August, 2018:

       MTGLQ Investors, L.P., c/o Select Portfolio Servicing, Inc., P.O. Box 65250, Salt Lake
       City, Utah 84165-0250

                                            /s/ Jessica A. Ekena
                                            Jessica A. Ekena, Legal Assistant




SPENCER LEE DANIELS, ESQ.
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